

People v Habeeb (2024 NY Slip Op 05764)





People v Habeeb


2024 NY Slip Op 05764


Decided on November 15, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 15, 2024

PRESENT: LINDLEY, J.P., CURRAN, MONTOUR, DELCONTE, AND HANNAH, JJ. (Filed Nov. 15, 2024.) 


MOTION NO. (911/19) KA 18-01889.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vJERMAINE HABEEB, DEFENDANT-APPELLANT. (APPEAL NO. 2.)



MEMORANDUM AND ORDER
Motion for writ of error coram nobis and summary reversal denied.








